                                                             UNITED STATES BANKRUPTCY COURT
                                                                  DISTRICT OF OREGON

 In re                                                                                       ) Case No.
                                                                                             )
 Steven Ray Ransom                                                                           )
                                                                                             )
                                                                                             )
                                                                                             ) CHAPTER 13 PLAN DATED February 12, 2020
 Debtor(s)                                                                                   )


NOTICE: Your rights may be affected: all parties (including debtor and creditors) are bound to the
terms of a confirmed plan. Creditors’ claims may be modified or eliminated. The plan imposes
obligations and duties on the debtor and other parties. You should read these papers carefully and
discuss them with your attorney. If you do not have one, you may wish to consult one.

If you oppose the plan treatment of your claim or any provision of this chapter 13 plan, you must file an
objection. Failure of a creditor to file a written objection to this plan will constitute acceptance of the
plan, and the bankruptcy court may confirm the plan without further notice. Objections must be filed
within 14 days after the conclusion of the meeting of creditors, unless otherwise ordered by the court; for an
amended plan, the deadline is in the attached notice of amendment. If there are any additional plan provisions
or provisions that alter the language of paragraphs 1–14, they must be in paragraphs 15+ below.

1. Plan Motions. This plan includes the following items (and does not include items not selected):
  Includes:
             Motion to Value Collateral: A limit on the amount of a secured claim, set out in paragraphs
             4(b)(1) and (2), which may result in a partial payment or no payment at all to the secured
             creditor.
             Motion for Relief: Termination of the automatic stay with respect to surrendered property, set
             out in paragraph 4(b)(4), or property subject to a rejected contract or lease, set out in paragraph
             5.
             Motion to Avoid Liens: Avoidance of a judicial lien or nonpossessory, nonpurchase-money
             security interest, set out in paragraph 6.
             Nonstandard Provisions: Nonstandard provisions, set out starting in paragraph 15.

2. Applicable Commitment Period. The applicable commitment period of this plan is 36 or 60 months.
  Debtor must make plan payments for that period unless debtor first pays 100% of all allowed claims with
  appropriate interest. If that period is 36 months, the plan payments may continue for a longer period, not to
  exceed 60 months, as necessary to complete required payments to creditors. The approximate length of the
  plan is 60 months; cause to extend longer than 36 months is as follows: pay secured debt

3. Payments to the Trustee. Debtor must pay to the trustee:

    (a) a monthly payment of $ 397.00 ;

    (b) all non-exempt proceeds from avoided transfers, including those from transfers avoided by the trustee;

    (c) upon receipt, net tax refunds attributable to the following tax years: none ; net tax refunds are those
       tax refunds not otherwise provided for in the plan, less tax paid by debtor for a deficiency shown on any
       tax return for that same tax year or tax paid by setoff by a tax agency for a postpetition tax year.

    (d) a lump sum payment of $ 0.00                                 on or before n/a (date); and

    (e) n/a.
1300.17 (12/1/2018)                                                       Page 1 of 5                [Note: Printed text may not be stricken.]
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com    Best Case Bankruptcy
                                                 Case 20-30533-dwh13                         Doc 2   Filed 02/14/20
4. Trustee Disbursements and Treatment of Claims. The trustee must commence prepetition disbursements
  required by paragraph 4(b)(3); upon confirmation of this plan, the trustee must commence disbursements in
  accordance with this plan. The trustee must not make any disbursement under this paragraph except on
  account of an allowed claim or allowed administrative expense. Should the trustee not have sufficient funds
  in trust to pay fully the disbursements listed below, disbursements of available funds must be made pro rata.
  The trustee must disburse all funds in the following amounts and order:

    (a) Trustee’s Fee and Expenses. First, to the trustee's percentage fee and expenses.

    (b) Treatment of Secured Claims. Second, to secured creditors as provided in (1) and (2) below. The
       terms of debtor’s prepetition agreement with each secured creditor will continue to apply, except as
       otherwise provided in this plan or in the confirmation order. The value of collateral for secured claims is
       fixed at the values stated in (1) and (2) only if there is a check in the box “Includes” in paragraph 1 for
       “Motion to Value Collateral” and the plan is served on the secured creditor as required under FRBP 7004
       or the allowed amount of the secured claim is fixed by consent of the secured creditor. Secured creditors’
       liens shall be treated in accordance with §1325(a)(5)(B)(i) and must be released when retention ends
       under that section.

         (1) Cure of Default and Claim Modification. Debtor must cure the default and maintain the contractual
            installment payments (as provided in paragraph 7) on a secured claim listed below in the “Estimated
            Arrearage if Curing” column. The amount listed in that column is an estimate; the creditor’s allowed
            claim will control. A claim listed in the “Collateral Value if Not Paying in Full” column is an allowed
            secured claim only to the extent of the value listed, and pursuant to § 506(a), debtor MOVES the court
            for an order fixing the value of the collateral in the listed amount. The value of the creditor’s interest in
            the collateral is limited to the amount listed below, and that amount will be paid under the plan with
            postconfirmation interest at the rate stated below. The holder of a claim listed in the "Estimated
            Secured Claim if Paying in Full" column will receive the total amount of the claim as set forth in the
            creditor's proof of claim.

              For all creditors provided for under this subparagraph (1), if the creditor’s claim will not be paid in full,
              the portion of the creditor’s claim that exceeds the amount of the allowed secured claim will be treated
              as an unsecured claim under paragraph 4(f) (if the claim identifies the priority position of the claim) and
              4(g) below

                                                                                                     Estimated
                                                         Estimated                Collateral          Secured
                                                        Arrearage if             Value if Not         Claim if                       Monthly Plan
      Creditor                  Collateral                Curing                Paying in Full      Paying in Full   Interest Rate    Payment
 Capital One Auto 2015 Chevrolet                                               10,386.00                             4.00%           345.00
 Finance Inc      Captiva

                                                            Use only one of these columns for each
                                                                            creditor




         (2) Secured Claim Modification Not Expressly Authorized by the Code. Treatment of secured claims
            under this subparagraph (2) may include modification of a claim secured by a purchase-money
            security interest in either (a) a motor vehicle acquired for personal use by the debtor within 910 days
            before the petition date or (b) any other personal property collateral acquired within 1 year before the
            petition date. A secured claim treated in this subparagraph is limited to the amount listed in the
            “Amount of Claim as Modified (Value of Collateral)” column. Debtor MOVES the court for an order
            fixing the value of the collateral in the amount listed below. Debtor proposes that the creditors listed
1300.17 (12/1/2018)                                                      Page 2 of 5                  [Note: Printed text may not be stricken.]
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com   Best Case Bankruptcy
                                                 Case 20-30533-dwh13                        Doc 2    Filed 02/14/20
              accept, either expressly or impliedly, the following treatment, which might not be able to be
              approved absent consent of creditor. Failure of a creditor to file a written objection to
              confirmation of this plan before confirmation will constitute acceptance of the plan.

                                                                                               Amount of Claim as
                                                                                                Modified (Value of   Postconfirmatio   Monthly
                  Creditor                                           Collateral                    Collateral)       n Interest Rate   Payment
 None


         (3) Adequate Protection. Payments must be disbursed by the trustee before confirmation, as adequate
            protection, from funds on hand with the trustee in the payment amounts specified in the plan for
            personal-property-secured creditors. Payments by the trustee before confirmation will be deducted
            from the amount of the allowed secured claim. Unless the concerned creditor is fully secured or over
            secured under § 506 or § 1325(a)(9), no interest will accrue or may be paid from the petition date to
            the confirmation date unless otherwise specifically provided for in the payment provisions set forth
            above.

         (4) Surrender of Collateral. Debtor must surrender any collateral not addressed by the terms of this plan
            no later than the confirmation date to the following (state creditor name followed by description of
            collateral to be surrendered, and if debtor does not have possession of the collateral, so state): n/a

              With respect to the claims secured by the collateral listed in this subparagraph (4), debtor MOVES that
              the stay of § 362(a) be terminated as to the collateral only and that the stay of § 1301 be terminated.

   (c) Debtor’s Attorney Compensation. Third, to debtor’s attorney fees of $ 4,750.00 and expenses of
      $ 0.00 , of which $ 0.00 has been paid, leaving $ 4,750.00 unpaid. Upon application, the court may
      award not more than $500 in addition to the above amount without further notice at the time of
      confirmation. Debtor’s attorney may may not apply for supplemental compensation and expense
      reimbursement.
      Attorney will be paid as follows (check only one):

             All attorney fees and expenses, including supplemental compensation, will be paid from all available
            funds after the trustee makes any disbursements under paragraph 4(a) and any fixed monthly
            payments in paragraph 4(b).

            Other:

   (d) Domestic Support. Fourth, to allowed unsecured domestic support obligations under § 507(a)(1), and
       these claims must be paid in full.

   (e) Administrative Expenses. Fifth, to allowed administrative expenses under §507(a)(2), and these claims
       must be paid in full.

   (f) Priority Claims. Sixth, to allowed priority claims in the order stated in § 507(a)(3)-(10), and these claims
       must be paid in full.

   (g) Unsecured Claims. Seventh, to allowed nonpriority unsecured claims, the amounts required by §
       1325(b)(1). [Mark only one].

            (1) Creditors will receive approximately 0.00 % of their claims. Payment of any dividend will depend
            on the amounts of allowed secured, priority (including costs of administration and the debtor’s attorney
            fees), and nonpriority unsecured claims.

            (2) Creditors will receive a minimum                                 % of their claims.


1300.17 (12/1/2018)                                                        Page 3 of 5                [Note: Printed text may not be stricken.]
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com     Best Case Bankruptcy
                                                 Case 20-30533-dwh13                          Doc 2   Filed 02/14/20
   (h) Best Interest of Creditors. The "best interest of creditors" number is $0 , and not less than that amount
       must be distributed to unsecured priority and nonpriority creditors. The amount of allowed priority claims
       will reduce the amount distributed to allowed unsecured nonpriority creditors.

   (i) Unsecured Claim Interest. All allowed unsecured claims will receive interest of 0.00% from the time of
       confirmation.

   (j) Untimely Claims Disallowed. Subject to the provisions of § 502(b)(9), untimely claims, other than those
       secured claims for which the treatment is specified in paragraph 4(b) above, are disallowed without the
       need for objection.

5. Executory Contracts and Leases. The debtor ASSUMES the following executory contracts and leases:

                        Creditor                                            Amount of Default                        Cure Provisions
                                                                             [State if None]
 -NONE-


    Executory contracts or leases not specifically listed above are rejected. Any allowed claim arising from
    rejection will be treated under paragraph 4(g). Debtor will pay all assumed executory contracts and leases
    directly, including amounts required to cure. Debtor must surrender any property covered by rejected
    executory contracts or leases to the affected creditor no later than confirmation. Debtor MOVES that the stay
    of § 362(a) be terminated as to all property covered by rejected executory contracts and leases and that the
    stay of § 1301 be terminated.

6. Section 522 Lien Avoidance. Debtor MOVES, pursuant to § 522(f)(1), to avoid the judicial liens or
   nonpurchase-money security interests of the following creditors because they impair an exemption of the
   debtor: n/a

   The order of confirmation will avoid the liens listed above, and claims of the lienholders will be treated in
    paragraph 4(g).

7. Direct Payments. Debtor must pay directly to each of the following creditors the regular payment that
  comes due after the petition date (state creditor name followed by collateral description): n/a

8. Use of Credit. Debtor may not incur credit or debt obligations during the life of the plan without the trustee's
  written consent unless made necessary by emergency or incurred in the ordinary course of operating
  debtor's business.

9. Debtor Reporting Requirements. Unless waived by the trustee in writing, debtor must report immediately,
  upon receipt of notice of the change, to the trustee if actual or projected gross annual income exceeds by
  more than 10% the gross income projected by debtor in the most recently filed Schedule I. Unless listed in
  the schedules, debtor must report immediately to the trustee any right of debtor to a distribution or right to
  distribution of funds or other property, including bonuses and inheritances, worth more than $2,500.

10. Postpetition Tax Reporting. For tax years listed in paragraph 3(c), debtor must timely file all required tax
  returns and provide copies to the trustee each year immediately upon filing with the taxing authority.

11. Vesting of Estate Property; Limitations on Postconfirmation Property Use. Property of the estate will
  vest in debtor upon confirmation, subject to the terms of this paragraph. Except for regular monthly income,
  any right of debtor to a distribution of funds or other property exceeding a value of $2,500 must be held by
  debtor and not used without the trustee's permission or a court order. Debtor must not buy, sell, use, lease
  (other than a lease of real property in which the debtor will reside), encumber, or otherwise dispose of any
  interest in: (a) real property; or (b) personal property worth more than $10,000 out of the ordinary course of
  business without notice (given per FRBP 2002 as if the interest were property of the estate) to all creditors
  and the trustee, with an opportunity for hearing, unless the property is acquired through the use of credit
1300.17 (12/1/2018)                                                      Page 4 of 5                [Note: Printed text may not be stricken.]
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com   Best Case Bankruptcy
                                                 Case 20-30533-dwh13                        Doc 2   Filed 02/14/20
    with the trustee's written consent.

12. Treatment of Trustee Funds on Hand Upon Dismissal or Conversion. If this case is converted to
  chapter 7 and the chapter 13 trustee has more than $2,500 at the time of conversion, the chapter 13 trustee
  must forward all funds to debtor, in care of debtor’s attorney, if any, 10 days after the first scheduled §
  341(a) meeting in the chapter 7 case unless the chapter 7 trustee files and serves a written objection
  pursuant to § 348(f)(2). If the funds in the chapter 13 trustee's possession at conversion are $2,500 or less,
  or if this case is dismissed, the chapter 13 trustee must forward all funds to debtor in care of debtor's
  attorney, if any. This paragraph does not determine the rights of the parties to these funds.

13. Reservation of Rights and Powers. Except as expressly set forth in this plan or the confirmation order,
  neither this plan nor the confirmation order affects any right or power of debtor or the trustee, including
  debtor’s rights under § 1302 and rights of the trustee or any trustee’s assignee under 11 U.S.C. chapter 5.

14. Additional Nonstandard Provisions. Any nonstandard provisions are set forth below or on attachments;
  each provision is numbered, beginning with 15. Debtor and, if applicable, debtor’s counsel certify that the
  plan contains no nonstandard provision other than those set out consistent with this paragraph.
  Nonstandard provisions set out elsewhere in this plan are ineffective; nonstandard provisions will be
  effective only if there is a check in the box “Includes” in paragraph 1.

15. Debtors shall timely file all required tax returns for tax years 2019, 2020 and 2021. Debtors shall provide
  copies to the Trustee each year immediately upon filing with the taxing authority.




 /s/ Steven Ray Ransom                                      February 12, 2020
 DEBTOR                                                     DATE                             DEBTOR                            DATE

CERTIFICATE OF SERVICE on Creditors/Parties Treated in Paragraphs 4(b)(1) (under the “Collateral
Value if Not Paying in Full” column), 4(b)(2) (under the “Amount of Claim as Modified” column), 5, and 6 (see
FRBP 3012, 4003(d), and 9014, and LBR 6006-1(b)). I certify that copies of this plan and the notice of hearing
to confirm this plan were served as follows:

a) For creditors/parties who are not Insured Depository Institutions (served by court) (see FRBP 7004(b)), I
  either listed the creditors/parties in the mailing list filed with the court exactly as follows, OR, on , I served the
  above-documents by first-class mail to the creditors/parties at the names and addresses exactly as follows
  (list each creditor/party, the person or entity the creditor/party was served through, and the address):

Capital One Auto Finance Inc
c/o Richard D Fairbank, CEO
7933 Preston Rd
Plano, TX 75024-2302

b) For Insured Depository Institutions (see FRBP 7004(h)), on , I served the above-documents by certified mail,
  or by other authorized means (specify), at the name and address exactly as follows (list each insured
  depository institution, the person or entity the institution was served through, and the address):
None

                                                                                            /s/ Rex K. Daines
                                                                                            Rex K. Daines #95244
                                                                                            Debtor or Debtor’s Attorney




1300.17 (12/1/2018)                                                      Page 5 of 5                   [Note: Printed text may not be stricken.]
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com   Best Case Bankruptcy
                                                 Case 20-30533-dwh13                        Doc 2     Filed 02/14/20
